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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF FLORIDA
                                     GAINESVILLE DIVISION
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
SHARON WRIGHT AUSTIN, MICHAEL:
MCDONALD, DANIEL A. SMITH, JEFFREY:
GOLDHAGEN, TERESA J. REID, and:
KENNETH B. NUNN,                                                     : 1:21-cv-00184-MW-GRJ
                                                                     :
                               Plaintiffs,                           :
                                                                     :
         v.                                                          :
                                                                     :
UNIVERSITY OF FLORIDA BOARD OF:
TRUSTEES, the public body corporate acting for:
and on behalf of the University of Florida; W. :
KENT FUCHS, in his official capacity as:
President of the University of Florida; JOSEPH:
GLOVER, in his official capacity as Provost of:
the University of Florida; and LAURA:
ROSENBURY, in her official capacity as Dean of:
the Fredric G. Levin College of Law,                                 :
                                                                     :
                               Defendants.
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X

                    DECLARATION OF MORGAN A. DAVIS

       I, Morgan A. Davis, declare as follows:

       1.     I am a member of the New York Bar and am associated with the law

firm of Debevoise & Plimpton LLP. I have been admitted to this Court pro hac

vice as counsel for Plaintiffs.

       2.     I make this declaration on personal knowledge and on the record of

this litigation in support of Plaintiffs’ Opposition to Defendants’ Motion to



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Dismiss.

      3.     Attached as Exhibit A is a true and correct copy of a document

entitled “UFOLIO Review Level Examples” published by the University of Florida

Conflicts of Interests Program on April 22, 2020. The document is available at

https://coi.ufl.edu/wordpress/files/2020/05/UFOLIO-Review-Level-Examples.pdf.

      4.     Attached as Exhibit B is a true and correct copy of an article entitled

“U. of Florida Doctor Says Administrators Blocked Him from Participating in

Lawsuits about Masking,” written by Lindsay Ellis and published by The

Chronicle of Higher Education on November 2, 2021. The article is available at

https://www.chronicle.com/article/u-of-florida-doctor-says-administrators-

blocked-him-from-participating-in-lawsuits-about-masking.

      5.     Attached as Exhibit C is a true and correct copy of an article entitled

“Florida’s Flagship Is Beset with Controversy. Its Board Says Everything Is Fine,”

written by Jack Stripling and published by The Chronicle of Higher Education on

December 3, 2021. The article is available at https://www.chronicle.com/article/

floridas-flagship-is-beset-with-controversy-its-board-says-everything-is-fine.

      6.     Attached as Exhibit D is a true and correct copy of Morteza

Hosseini’s remarks at a University of Florida Board of Trustees meeting on

December 3, 2021.

      7.     Attached as Exhibit E is a true and correct copy of the “Report of the



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Faculty Senate Ad Hoc Committee on Academic Freedom” published on

December 6, 2021.      The report is available at https://drive.google.com/file/d/

1mB6mjqdE6bqdQcXOhX_5pUpRhnSik2X8/view.

      8.    Attached as Exhibit F is a true and correct copy of an article entitled

“UF Professors Accuse Task Force Examining Expert Testimony of Having Its

Own Conflicts,” written by Jimena Tavel and published by The Miami Herald on

November 15, 2021. The article is available at https://www.miamiherald.com/

news/local/education/article255762986.html.

      9.    Attached as Exhibit G is a true and correct copy of an article entitled

“UF President, Faculty Agree on Changes to Safeguard Free Speech,” written by

Divya Kumar and published by The Tampa Bay Times on December 9, 2021. The

article is available at https://www.tampabay.com/news/education/2021/12/09/uf-

president-faculty-agree-on-changes-to-safeguard-free-speech/.

      10.   Attached as Exhibit H is a true and correct copy of the UFOLIO

review process flowchart published on the University of Florida’s website. The

flowchart is available at https://coi.ufl.edu/wordpress/files/2020/04/Visio-DOI-

Process-Flow-Chart.pdf.

      11.   Attached as Exhibit I is a true and correct copy of the addendum to

the UFOLIO review process flowchart starting at Level 2, presented at a University

of Florida Faculty Senate meeting on December 16, 2021. A recording of the



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meeting that includes the flowchart is available at https://mediasite.video.ufl.edu/

Mediasite/Play/e38aa91bfa634b7a87c7824c0272c94c1d?catalog=8456cbab10

b449868436ee51ddb84dc421.



      I declare under penalty of perjury that the foregoing is true and correct.

      Executed at New York, New York on this 17th day of December 2021.



                                       /s/ Morgan A. Davis
                                       Morgan A. Davis




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